      Case 22-33553 Document 1128 Filed in TXSB on 04/11/25 Page 1 of 10




             UNITED STATES BANKRUPTCY COURT
               SOUTHERN DISTRICT OF TEXAS
                     HOUSTON DIVISION
__________________________

In Re:                                          )   Chapter 7
                                                )
ALEXANDER E. JONES                              )   Case No. 22-33553 (CML)
                                                )
    Debtor.                                     )
__________________________

            REPLY IN SUPPORT OF MOTION FOR LEAVE TO INTERVENE
              TO PRESENT EVIDENCE OF FRAUDULENT JUDGMENT
                             [Relates to Docket 1120]

         The undersigned, Robert Wyn Young, respectfully submits that the undersigned’s Motion

for Leave to Intervene to Present Evidence of Fraudulent Judgment (Docket 1120) is

well~founded, and it should be granted.

         The Connecticut Families filed the only response in opposition to the undersigned’s

Motion for Leave to Intervene (see Docket 1124); but the Connecticut families failed to comply

with the pre~response conference requirements of BLR 9013-1(g)(1). Accordingly, the

undersigned has filed a separate Motion to Strike Connecticut Families’ Opposition to Motion

for Leave to Intervene (see Docket 1126).

         The undersigned respectfully submits that the Motion to Strike (Docket 1126) is

well~founded, it should be sustained, and the Court should, therefore, consider the undersigned’s

Motion for Leave to Intervene (Docket 1120) to be unopposed. If, however, the Court denies

the undersigned’s Motion to Strike (Docket 1126), or if the Court otherwise considers any of the

arguments asserted in the Connecticut Families’ Opposition (Docket 1124), then, without

waiving objection to the Connecticut Families’ non~compliant response in opposition, the




                                               1
      Case 22-33553 Document 1128 Filed in TXSB on 04/11/25 Page 2 of 10




undersigned hereby sets forth the following Reply in Support of Motion for Leave to Intervene

to Present Evidence of Fraudulent Judgment.

              THE UNDERSIGNED IS NOT COLLATERALLY ESTOPPED
             FROM SUBMITTING EVIDENCE OF FRAUD TO THE COURT

       At Page 2 of their memo in Opposition (Docket 1124), the Connecticut Families state:

“Young’s allegations of fraudulent collusion in the Connecticut state court proceedings represent

yet more collateral attacks on the Connecticut judgment that, as this Court has ruled, are not

properly addressed in this forum. See Adv. Proc. No. 23-03037, Dkt. 76 at 12, 18–19.” The

Connecticut Families mischaracterize the holdings of the Court’s Memorandum Decision on

Connecticut Plaintiffs’ Motion for Summary Judgment Against Jones in Adv. Proc. No. 23-

03037 (Docket 76).

       The Court described the issue presented (and decided) in Adv. Proc. No. 23-03037 as

follows:

              The Plaintiffs started this adversary proceeding to determine the
       nondischargeability of the judgment debts against Jones. They seek summary judgment
       mainly on the theory that the damages opinion, jury verdict, and admitted allegations from
       the Connecticut Action satisfy the requirements of collateral estoppel on the issue of willful
       and malicious injury under § 523(a)(6). In the alternative, they believe that the state court
       record establishes willful and malicious injury.

[Memorandum Decision, at Pages 5~6, footnotes omitted (Docket 76)]

       In ruling in favor the Connecticut Plaintiffs, the Court held that: “Plaintiffs can invoke

collateral estoppel to establish that a debt is nondischargeable.” Id. at 8. As the Court noted, and

in general, “Collateral estoppel prevents parties from relitigating issues of fact that were already

‘determined by a valid and final judgment’ in a prior lawsuit in any future lawsuit involving the

same parties.” Id. [Emphasis added.] In summarizing Connecticut case law regarding collateral

estoppel, the Court further noted: (1) “Under Connecticut law, collateral estoppel ‘prohibits the




                                                 2
          Case 22-33553 Document 1128 Filed in TXSB on 04/11/25 Page 3 of 10




relitigation of an issue when that issue was actually litigated and necessarily determined in a

prior action between the same parties upon a different claim.’”; (2) “An issue is actually litigated

if it was ‘properly raised in the pleadings or otherwise, submitted for determination, and in fact

determined.’”; and (3) “Connecticut courts also note that there must be an identity of issues

between the state court action and the issues to be decided here before collateral estoppel applies.”

Id. at 8 and 9. [Citations omitted, emphasis added.]

           The issue of fraud or collusion between Jones and the Connecticut Families [evidenced by

Jones’ deliberately~ineffective Notices of Removal in the Lafferty and Sherlach cases (which

failed to claim federal question jurisdiction in 1st Amendment cases)1] was never litigated in

the consolidated Connecticut defamation cases, and the undersigned was not a party to said cases.

Thus, it cannot be said that the undersigned is collaterally estopped in this matter from raising

the issue of fraud or collusion giving rise to the $1.3 Billion Connecticut state court judgment.

           Further, the Court’s Memorandum Decision in Adv. Proc. No. 23-03037 (Docket 76)

neither states nor holds, as the Connecticut Families assert, that “collateral attacks on the

Connecticut judgment … are not properly addressed in this forum.” (Docket 1124) A stranger to

a prior proceeding can mount a collateral attack to challenge a judgment, particularly if it was

obtained through fraud or collusion. See Martin v. Wilks, 490 U.S. 755 (1989) (judgment could

be challenged by stranger if it was obtained through fraud or collusion); and Consolidated Rock

Products Co. v. Higgins, 54 Cal. App. 2d 779, 781 (1942) (stranger can attack a judgment in a

collateral proceeding for lack of jurisdiction, or for fraud or collusion, regardless of the state of the

record). In the Martin minority opinion, Justice Stevens noted the following general standards

regarding collateral attacks on judgments arising from fraud or collusion:



1
    See Motion for Leave to Intervene at 11~12, FNs 4 and 5. (Docket 1120)



                                                        3
      Case 22-33553 Document 1128 Filed in TXSB on 04/11/25 Page 4 of 10




          Persons who have no right to appeal from a final judgment -- either because the time to
          appeal has elapsed or because they never became parties to the case -- may nevertheless
          collaterally attack a judgment on certain narrow grounds. If the court had no jurisdiction
          over the subject matter, or if the judgment is the product of corruption, duress, fraud,
          collusion, or mistake, under limited circumstances it may be set aside in an
          appropriate collateral proceeding. See Restatement (Second) of Judgments §§ 69-72
          (1982); Griffith v. Bank of New York, 147 F.2d 899, 901 (CA2) (Clark, J.), cert. denied,
          325 U.S. 874 (1945). This rule not only applies to parties to the original action, but also
          allows interested third parties collaterally to attack judgments. In both civil and
          criminal cases, however, the grounds that may be invoked to support a collateral attack are
          much more limited than those that may be asserted as error on direct appeal. Thus, a
          person who can foresee that a lawsuit is likely to have a practical impact on his
          interests may pay a heavy price if he elects to sit on the sidelines instead of intervening
          and taking the risk that his legal rights will be impaired.

Martin, supra, at 771~772 (Stevens, J., dissenting on other grounds). [Footnotes omitted, emphasis

added.]

          Further, while the Constitution’s Full Faith and Credit Clause (Article IV, Section 1)

generally requires that each state give “full faith and credit” to the judicial proceedings of other

states, exceptions apply where fraud or collusion is involved. See Hilton v. Guyot, 159 U.S. 113

(1895) (judgment obtained through fraud is not entitled to full faith and credit); and Stephens v.

Thomasson, 63 Ariz. 187 (Ariz. 1945) (judgment from Texas court was not entitled to full faith

and credit in Arizona due to allegations of fraud in obtaining the judgment).

          Accordingly, the undersigned is not precluded herein from asserting a collateral attack on

the $1.3 Billion Connecticut state court judgment for fraud or collusion.

      PERMISSSIVE INTERVENTION IS APPROPRIATE UNDER FRBP 2018(a)

          The Connecticut Families assert: “Young identifies no economic or similar interest in this

matter. His only stated interests are defending the integrity of the judicial system and the United

States Constitution. Dkt. 1120 at 9. Courts regularly deny intervention by parties seeking only to

represent abstract public interests.” Opposition at 1. (Docket 1124)



                                                   4
      Case 22-33553 Document 1128 Filed in TXSB on 04/11/25 Page 5 of 10




       The Constitution’s “Case or Controversy” Clause, Article III, Section 2, Clause 1,

establishes the standing requirement for cases in federal courts, and it aims to prevent federal

courts from becoming entangled in abstract or hypothetical disputes. Federal standing

requirements are well summarized in the following statement from the Civil Resource Manual at

Justice.gov:

       The “case or controversy” clause of Article III of the Constitution imposes a minimal
       constitutional standing requirement on all litigants attempting to bring suit in federal court.
       In order to invoke the court’s jurisdiction, the plaintiff must demonstrate, at an “irreducible
       minimum,” that: (1) he/she has suffered a distinct and palpable injury as a result of the
       putatively illegal conduct of the defendant; (2) the injury is fairly traceable to the
       challenged conduct; and (3) it is likely to be redressed if the requested relief is granted. ***
       In addition to the constitutional requirements of Article III, courts have developed a set of
       prudential considerations to limit standing in federal court to prevent a plaintiff “from
       adjudicating ‘abstract questions of wide public significance’ which amount to ‘generalized
       grievances’ pervasively shared and most appropriately addressed in the
       representative branches.” *** Speculative claims that a proposed governmental action
       may result in injury to a plaintiff are insufficient to confer standing. *** The required injury
       must be both real and immediate, not conjectural or hypothetical. ***

U.S. Department of Justice, Archives, Justice Manual Archived Material, Civil Resource

Manual, 35. Standing to Sue. Retrieved from: https://www.justice.gov/archives/jm/civil-

resource-manual-35-standing-sue. [Citations omitted, emphasis added.]

       Private litigants don’t get to collude to produce a constitutionally~destructive judgment,

and then run for safety to hide behind the “case or controversy” standing requirement, claiming

that no individual has a right to intervene in their subsequent litigation (also based on the original

collusion) to vindicate or enforce “abstract public interests”. That’s not how it works. The “it”

being justice. Further, this Court is already entangled in a phony and hypothetical dispute

between colluding parties, namely, Jones and the Connecticut Families.

       The Connecticut Families cite In re Adilace Holdings, Inc., 548 B.R. 458, 462–63 (Bankr.

W.D. Tex. 2016), for the proposition that an intervenor must have an “economic or similar interest”


                                                  5
      Case 22-33553 Document 1128 Filed in TXSB on 04/11/25 Page 6 of 10




in the matter. Merriam-Webster provides five (5) definitions of the adjective “economic”, the

third of which is: “having practical or industrial significance or uses: affecting material resources”.

(Retrieved from: https://www.merriam-webster.com/dictionary/economic.) As set forth in the

Civil Resource Manual quoted above, the intervening litigant must have suffered a “distinct and

palpable injury”. Merriam-Webster provides four (4) definitions of the adjective “distinct”, the

second of which is: “presenting a clear unmistakable impression” (Retrieved from:

https://www.merriam-webster.com/dictionary/distinct.)

       As stated in the Motion for Leave to Intervene (Page 9, Docket 1120), I respectfully seek

leave to intervene in this bankruptcy proceeding to protect my interests as a United States citizen

and state and federally~licensed attorney in ensuring: (1) the integrity of the federal judicial

system; (2) the protection of the 1st Amendment to the United States Constitution; and (3) the

efficacy of my efforts in fulfilling my duties to protect and defend the Constitution.

       The meaning of “economic or similar interest” is rather broad and, according to Merriam-

Webster, the adjective “economic” includes that which has practical significance and/or affects

material resources. I’ve devoted thirty~three (33) years of my life, between law school and

practice, to serving the American legal system. Beyond the considerable investments and costs of

acquiring and maintaining an active law license, I have a vested “economic” interest in ensuring

the efficacy of my properly~directed efforts to fulfill my oathbound duties to protect and defend

the Constitution.

       I had to quit my day job this January to meet the demands of this public advocacy case

which I am duty~bound to pursue. I’ve also incurred intervention costs ($100 pro hac vice fee

and $40 PACER fees) because the Chapter 7 Trustee refuses, without explanation, to fulfill his

duty of bringing this obvious and egregious fraud to the attention of the Court. I can attest to the




                                                  6
      Case 22-33553 Document 1128 Filed in TXSB on 04/11/25 Page 7 of 10




distinct and palpable injury the collusive $1.3 Billion judgment has caused to the 1st

Amendment and to those charged with protecting it. Perhaps this is why the News-Times (Hearst

Media), which regularly and promptly reports on this bankruptcy case (Docket 1120-16), refuses

to report on my Motion for Leave to Intervene and credible, peer~reviewed allegation of fraud

(see Docket 1120-10), despite the fact that I’m a paid subscriber and sent them my Motion on

March 21, 2025.

       Does the standing doctrine, deriving from the “Case or Controversy” Clause, mean that

federally~licensed attorneys and officers of the court are to stand by idle and watch as the

Constitution, itself, is undermined or destroyed by collusion and fraud occurring and proceeding

unchecked in the federal judicial system?? If so, then both our Constitution, and our republican

form of government, are doomed. The 1st Amendment is not an “abstract public interest”; it is an

enshrinement of natural rights, in concrete terms, that serves as both the philosophical and practical

foundation of the American Republic. Further, the damage done to the 1st Amendment by and

through the collusive $1.3 Billion Connecticut state court judgment cannot be readily addressed

through legislative action; it must be addressed in the courts.

       The Connecticut Families further assert: “Young’s supposed interests are well represented

by existing parties.” Opposition at 2. (Docket 1124) This allegation carries the same degree of

credibility as does Paragraph 17 of the Connecticut Families’ May 23, 2018, Lafferty Complaint,

which states: “The plaintiffs bring this action in defense of the values protected by the First

Amendment to the U.S. Constitution, not in derogation of it.” [See Exhibit 1 to the Motion for

Leave to Intervene (Docket 1120-1).] How can colluding parties adequately represent the

interests of third parties they are colluding to harm?? The Connecticut Families’ allegations, at




                                                  7
          Case 22-33553 Document 1128 Filed in TXSB on 04/11/25 Page 8 of 10




the very start of the Sandy Hook cases, and yet still today, present little more than inversion of

both truth and logic.

          The undersigned’s identified legitimate and substantial interests are most assuredly not

being adequately represented by the Chapter 7 Trustee, or by any of the creditors or other parties,

all of whom, to date, have either failed or refused (even in spite of statutorily and ethically

imposed duties)2 to bring clear evidence of egregious and obvious fraud to the attention of

this Court.

          THE REQUESTED INTERVENTION WILL NOT CAUSE UNDUE DELAY

          Merriam-Webster defines “undue” as: “exceeding or violating propriety or fitness:

excessive”.3 In Bartenwerfer v. Buckley, 598 U.S. 69 (2023), the Supreme Court of the United

States unanimously held that debts incurred by fraud cannot be discharged in bankruptcy,

even if the debtor didn’t personally commit the fraud. If the Connecticut state court judgment is

fraudulent (which it is) then, under Bartenwerfer, no other proceedings toward relief are or will

ever become relevant, because no relief may be afforded in bankruptcy based upon a fraudulent

judgment. Accordingly, any delay caused by the requested intervention will not be “undue”.

THE $1.3 BILLION CT STATE COURT JUDGMENT IS BLATANTLY FRAUDULENT

          At Page 14 of the Motion for Leave to Intervene, the undersigned states:

                 Alex Jones’ obviously and deliberately~ineffective July 2018 Notices of Removal
          in the Lafferty and Sherlach cases constitute operative evidence of collusion or
          self~sabotage by the defense and, thus, of the fraudulent nature of the $1.3 Billion
          Connecticut state court judgment giving rise to the instant Chapter 7 bankruptcy, as a
          matter of law, meaning that reasonable minds cannot reasonably differ in this regard.



2
  See “Partners in Combatting Crime”, quoted at Page 5 of the Motion for Leave to Intervene, stating: “Both the
USTP and chapter 7 trustees have a statutory responsibility to identify and refer potential fraud or criminal activity
in a case.” (Docket 1120)
3
    Retrieved from: https://www.merriam-webster.com/dictionary/undue



                                                          8
          Case 22-33553 Document 1128 Filed in TXSB on 04/11/25 Page 9 of 10




(Docket 1120) In their Opposition, the Connecticut families do not even attempt to dispute the

foregoing and ultimate conclusion. Why?? Because it’s indisputable.

           Jones’ filing of a deliberately~ineffective Notice of Removal in Lafferty on July 13, 2018,

followed promptly by his July 20, 2018, filing of a potentially~dispositive 1st Amendment

~based, Anti~SLAPP Special Motion to Dismiss (which Jones effectively ensured would not

be worth the paper it was written on)4 was a cynical and sophomoric slight of hand to abuse and

undermine not only federal judicial process, but also the Constitution, itself, which both

establishes the federal judiciary and enumerates our Bill of Rights. This destructive, collusive,

and treasonous fraud should not be permitted to stand.

                                               CONCLUSION

           FOR THE FOREGOING REASONS, Pro Se Attorney Intervenor/Interested Party,

Robert Wyn Young, respectfully submits that the undersigned’s Motion for Leave to Intervene

to Present Evidence of Fraudulent Judgment (Docket 1120), which the undersigned fully

incorporates herein by reference, is well~taken, and it should be granted.


                                                             Respectfully submitted,



Date: 04/11/25                                               /s/ Robert Wyn Young
                                                             Robert Wyn Young (OH Bar #0064876)
                                                             Law Office of R. Wyn Young, Esq.
                                                             1421 Lexington Avenue, #180
                                                             Mansfield, OH 44907
                                                             Email: rwynyoung25@gmail.com
                                                             Phone: (513) 238~2821
                                                             Pro Se Attorney Intervenor/Interested Party




4
    See Motion for Leave to Intervene at 11~12, and FNs 4 and 5. (Docket 1120)



                                                        9
     Case 22-33553 Document 1128 Filed in TXSB on 04/11/25 Page 10 of 10




                     FRBP 8015(h) CERTIFICATE OF COMPLIANCE

        I hereby certify that the foregoing Reply in Support of Motion for Leave to Intervene
complies with the applicable 2,600~word limitation under FRBP 8013(f)(3)(C), excluding parts
exempted under FRBP 8015(g) (238 words), and that such certification is based on a 2,599~word
calculation of said Reply by my word processing program.



                                                    /s/ Robert Wyn Young
                                                    Robert Wyn Young


                                CERTIFICATE OF SERVICE

        I hereby certify that on April 11, 2025, I caused a copy of the foregoing Reply in Support
of Motion for Leave to Intervene to be served on all subscribed parties by the Electronic Case
Filing System of the United States Bankruptcy Court for the Southern District of Texas.


                                                    /s/ Robert Wyn Young
                                                    Robert Wyn Young




                                               10
